           Case 1:21-cv-00565-RP Document 530 Filed 09/06/24 Page 1 of 5



                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION


WENDY DAVIS, et al.,                                    §
                                                        §
                 Plaintiffs,                            §
                                                        §
v.                                                      §                    1:21-CV-565-RP
                                                        §
ELIAZAR CISNEROS, et al.,                               §
                                                        §
                 Defendants.                            §

                                                  ORDER

        This case is set for trial beginning on September 9, 2024. (Dkt. 405). Before the Court are

two motions to quash trial subpoenas, filed by non-parties Michael Forges and Eric Cervini. (Dkts.

505, 514). Defendants Joeylynn and Robert Mesaros (collectively, the “Mesaros Defendants”) filed

responses in opposition. (Dkts. 513, 520). 1 After reviewing the motions and the relevant law, the

Court issues the following order.

                                         I. LEGAL STANDARD

        Federal Rule of Civil Procedure 45 sets forth the requirements for the form and content of a

subpoena. Rule 45(c)(1) makes compulsory process available for trial testimony “only” if the place of

compliance is “within 100 miles of where the person resides, is employed, or regularly transacts

business in person”; or “within the state where the person resides, is employed, or regularly transacts




1 To ensure that the Court could timely resolve the motions to quash before trial, the Court directed the

Mesaros Defendants to file responses by specified times. The Court ordered the Mesaros Defendants to file a
response to Michael Forges’s motion to quash by September 3, 2024 at 5:00 pm, (Dkt. 506), and the Court
ordered the Mesaros Defendants to file a response to Eric Cervini’s motion to quash by September 5, 2024,
at 12:00 pm, (Dkt. 517). The Mesaros Defendants did not comply with either deadline. Despite the late nature
of their filings, the Court considers their responses. However, the Court cautions counsel that late filings may
not be considered in the future.


                                                       1
          Case 1:21-cv-00565-RP Document 530 Filed 09/06/24 Page 2 of 5



business in person, if the person (i) is a party or a party’s officer; or (ii) is commanded to attend trial

and would not incur substantial expense.” Fed. R. Civ. P. 45(c)(1).

        “On timely motion, the court for the district where compliance is required must quash or

modify a subpoena that (i) fails to allow a reasonable time to comply; (ii) requires a person to comply

beyond the geographical limits specified in Rule 45(c); (iii) requires disclosure of privileged or other

protected matter, if no exception or waiver applies; or (iv) subjects a person to undue burden.” Fed.

R. Civ. P. 45(d)(3)(A).

                                            II. DISCUSSION

                                            A. Michael Forges

        The Court begins with the motion to quash filed by Non-party Michael Forges (“Forges”).

Forges was served with a trial subpoena at his home in Harvey, Louisiana on August 19, 2024. (Dkt.

505). He was served by counsel for the Mesaros Defendants. (See Subpoena, Dkt. 505-1). The

subpoena states that Forges must appear as a witness at the United States Courthouse in Austin on

September 9, 2024 at 9:30 am. (Id.). In his motion, Forges states that his home in Harvey is 516.7

miles from the Austin courthouse. He also states that he is not employed within 100 miles of the

courthouse, nor does he regularly transact business within 100 miles of the courthouse. Accordingly,

Forges argues that the Court must quash the subpoena because Forges is beyond the geographic

scope laid out in Rule 45(c). (Dkt. 505).

        In response, the Mesaros Defendants assert that Forges would give highly relevant testimony

in this case because he was a bus driver who was present on the Biden-Harris Bus during the

October 30, 2020 incident that gave rise to this lawsuit. (Dkt. 513). They counter Forges’s motion to

quash in several ways. First, the Mesaros Defendants argue that Forges is within range for the

subpoena because on October 30, 2020, he was employed by the Biden-Harris Campaign as its

campaign bus traversed through central Texas. Second, the Mesaros Defendants argue that Forges



                                                     2
           Case 1:21-cv-00565-RP Document 530 Filed 09/06/24 Page 3 of 5



has not met his burden of establishing that he is outside the subpoena range because his motion to

quash is not supported by a signed declaration. Last, the Mesaros Defendants note that Forges has

stated that he is amenable to presenting his testimony via live video feed at trial (Id.). As such, the

Mesaros Defendants request that Forges be allowed to present his testimony in such manner to

alleviate Forge’s burden of travel. (Id.).

        The Court will grant Forges’s motion to quash. First, Forges’s motion is timely as it was filed

before the date of compliance. Hoeflein v. Crescent Drilling & Prod., Inc., 2020 WL 7643122, at *2

(W.D. Tex. Dec. 23, 2020). Second, Forges does not live or regularly work within 100 miles of the

Austin courthouse. The Court is not persuaded by the Mesaros Defendants’ arguments to the

contrary. Forges has made representations about his residence and place of employment in a motion

signed by his counsel. As such, these representations are presumably accurate, see Fed. R. Civ. P. 11,

and the Mesaros Defendants make no argument to suggest that Forges’s representations are

fraudulent. Further, the fact that Forges worked once in central Texas does not mean that he “is

employed” or “regularly transacts business in person” within 100 miles of the Austin courthouse.

Therefore, the trial subpoena would require Forges to comply beyond the geographical limits

specified in Rule 45(c), and as such this Court must quash or modify the subpoena. Fed. R. Civ. P.

45(d)(3)(A).

        The Court next addresses the Mesaros Defendants’ request that Forges be allowed to

present testimony remotely via a live video feed. It is the Court’s practice to only allow remote

testimony in extraordinary circumstances, and such circumstances do not exist here. The Mesaros

Defendants state that they have known about Forges’s connection to this lawsuit since Plaintiffs

made their initial disclosures and Plaintiff Wendy Davis sat for her deposition. (Dkt. 513). The

Mesaros Defendants should have anticipated that there could be difficulties in compelling Forges’s

appearance at trial given that he lives in Louisiana and could have deposed Forges so they could



                                                    3
          Case 1:21-cv-00565-RP Document 530 Filed 09/06/24 Page 4 of 5



introduce his testimony. Yet, the Mesaros Defendants did not obtain Forges’s testimony during the

discovery phase and provide no reasonable justification for their attempt to secure his testimony

now on the eve of trial. The Court finds no good cause nor extraordinary circumstances that would

warrant allowing remote testimony in this instance. Accordingly, the Court denies the Mesaros

Defendants’ request to allow Forges to present testimony remotely and grants Forges’s motion to

quash in full.

                                              B. Eric Cervini

        The Court next turns to the motion to quash filed by Non-party Eric Cervini (“Cervini”).

Cervini is a former Plaintiff in this case who voluntarily dismissed his claims with prejudice on

August 1, 2024. (Dkt. 456). Cervini was served a trial subpoena at his home in Santa Monica,

California on August 16, 2024. (Dkt. 514). Cervini asks the Court to quash the subpoena because he

is beyond the geographic limit imposed by Rule 45 and his appearance would impose an undue

burden. (Id.). In response, the Mesaros Defendants argue that Cervini has not satisfied his burden on

the motion to quash. (Dkt. 520). However, the Mesaros Defendants also suggest that a decision on

Cervini’s motion could be stayed pending a determination of whether his testimony may be

necessary at all. They state that they may wish to call Cervini to authenticate certain documents but

do not anticipate Cervini’s testimony being necessary because the materials at issue should be able to

be authenticated by other witnesses. (Id.).

        In light of the Mesaros Defendants’ representations that they may not need to call Cervini to

testify, the Court will deny Cervini’s motion to quash without prejudice. Cervini may refile his

motion to quash should the Mesaros Defendants determine that they wish to call him at trial.

                                        III. CONCLUSION

        Accordingly, IT IS ORDERED that Forges’s motion to quash, (Dkt. 505), is GRANTED.




                                                    4
         Case 1:21-cv-00565-RP Document 530 Filed 09/06/24 Page 5 of 5



      IT IS FURTHER ORDERED that Cervini’s motion to quash, (Dkt. 514), is DENIED

WITHOUT PREJUDICE to refiling should Cervini need to re-urge his request.

      SIGNED on September 6, 2024.


                                                ________________________________
                                                ROBERT PITMAN
                                                UNITED STATES DISTRICT JUDGE




                                            5
